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                                     T HE CITY OF NEW YORK                          AMANDA C. CROUSHORE

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By ECF                                                                         October 29, 2021
Hon. Valerie E. Caproni
United States District Court
Southern District of New York
Thurgood Marshall Courthouse
40 Foley Square
New York, NY 10007

                Re:    Keil, et al. v. the City of New York, et al., Dkt. 21 Civ. 8773;
                       Kane, et al. V. Bill de Blasio, et al., Dkt. 20 Civ. 7863

Dear Judge Caproni:

               I am an Assistant Corporation Counsel in the office of Georgia M. Pestana,
Corporation Counsel for the City of New York, attorneys for the defendants in the above-
referenced cases (“Keil” and “Kane,” respectively). I write for two purposes: (1) to address the
October 28, 2021 Order regarding consolidating the above-referenced cases, and (2) to request that
the Keil matter be stayed pending appeal, as the Kane case has been.

               First, defendants agree with the Court that the Keil and Kane matters should be
consolidated. They unquestionably “involve . . . common question[s] of law [and] fact” (F.R.C.P.
42(a)), namely the validity and application of the DOE vaccine mandate and, in particular, whether
the mandate violates plaintiffs’ Constitutional rights.

                Second, defendants request that the Keil matter be stayed pending appeal, much as
the Kane matter has been. The Second Circuit’s ruling on plaintiffs’ appeal of the Court’s decision
denying plaintiffs’ Order to Show Cause for a temporary restraining order may affect defendants’
approach to these cases, and thus waiting to respond to the Complaints until after the Second
Circuit has ruled would be most efficient and just. F.R.C.P. 1.

                                                      Respectfully submitted,

                                                      /s/ Amanda C. Croushore
                                                      Assistant Corporation Counsel

Copies to: All counsel of record (by ECF)
